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                         9/13/10 - Corrected Transcript
                         Corrections on Pages 6 and 7, in Bold



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE


IN RE:                                .     Chapter 11
                                      .
TRIBUNE COMPANY,                      .     Case No. 08-13141(KJC)
et al.,                               .     (Jointly Administered)
                                      .     Aug. 20, 2010(10:06 a.m.)
           Debtors.                   .     (Wilmington)

                     TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE KEVIN J. CAREY
               UNITED STATES BANKRUPTCY COURT JUDGE
Appearances:

For the Debtors:                 Bryan Krakauer, Esq.
                                 James F. Conlan, Esq.
                                 James Bendernagel, Esq.
                                 Kevin Lantry, Esq.
                                 Sidley Austin LLP
                                 Norman Pernick, Esq.
                                 Cole, Schotz

For the Examiner:                Kenneth N. Klee, Esq.
                                 Robert Pfister, Esq.
                                 Klee, Tuchin, Bogdanoff & Stern
                                 Mark Minuti, Esq.
                                 Nicholas Nastasi, Esq.
                                 Saul Ewing LLP

For Wilmington Trust:            Robert Stark, Esq.
                                 Martin Siegel, Esq.
                                 Brown, Rudnick LLP

For the Committee:               David LeMay, Esq.
                                 Howard Seife, Esq.
                                 Chadbourne & Park, LLP
                                 Adam G. Landis, Esq.
                                 Landis, Rath & Cobb
                                 James Sottile, Esq.
                                 Zuckerman, Spaeder

For the U.S. Trustee:            David Klauder, Esq.
                                 U.S. Trustee’s Office

For Wells Fargo:                 Eric Sutty, Esq.
                                 Fox Rothschild
                                 Thomas Lauria, Esq.
                                 Andrew Hammond, Esq.
                                 White & Case
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                                                                      2

For Merrill Lynch:               Laurie Selber Silverstein, Esq.
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For Aurelius:                    William Weintraub, Esq.
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For Morgan Stanley:              David Powlen, Esq.
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For JPMorgan:                    Benjamin Kaminiski, Esq.
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 1              THE CLERK: All rise.         Be seated, please.

 2              THE COURT: Good morning.

 3              MR. PERNICK: Good morning, Your Honor.

 4              THE COURT: What’s going on?

 5              MR. PERNICK: Your Honor, Mr. Conlan actually was

 6   going to give the Court a status report on confirmation and

 7   where we are.       I don’t know if you want me to run through the

 8   rest of the agenda first or not.           Okay, I’ll just turn to

 9   that, thank you.

10              THE COURT: Mr. Landis.

11              MR. LANDIS: Your Honor, if I may, before Mr. Conlan

12   goes ahead.    Adam Landis from Landis, Rath & Cobb on behalf

13   of the Creditors Committee.         I apologize first for some

14   parties not being in court.         There have been discussions that

15   have been ongoing right up until the hearing was supposed to

16   start.   We had requested that the debtors consent to a little

17   bit of additional time and request that the Court indulge us

18   a little bit.

19              THE COURT: How much time?

20              MR. LANDIS: Well, we were looking for, hopefully,

21   to start at 11 o’clock, but based on discussions with the

22   debtors, parties are rushing over, so I would ask that at

23   least until senior lenders counsel and Committee counsel

24   shows up the Court hold off from hearing the status report

25   from Mr. Conlan.
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 1              MR. KAMINISKI: I just wanted a second.                This is

 2   Benjamin Kaminiski of Davis Polk for JPMorgan as agent.                We

 3   were having settlement discussions out at Richards, Layton

 4   and we asked the debtors specifically can we continue talking

 5   and delay the hearing, and to our great surprise, they said,

 6   Absolutely not, you know, run over.           So unfortunately our

 7   people aren’t here yet because they were, you know, kind of

 8   just pulled them out of a conference room, but, again, I

 9   think it’s not productive at this moment to go forward.

10              THE COURT: Alright.        Mr. Conlan?

11              MR. CONLAN: We didn’t have to run over because we

12   weren’t in the settlement discussions.

13              THE COURT: What’s with all this intransigence from

14   the debtor?    What’s going on here?          What’s going on with all

15   this intransigence by the debtor?

16              MR. CONLAN: Your Honor, it’s, as you might expect

17   from our point of view, not intransigence by us.                 We didn’t

18   have to run over because we weren’t part of those

19   discussions.    We’re ready to go.

20              THE COURT: Well, let’s do this, let’s handle the

21   Millen matter and the Examiner motion, and then I would be

22   willing to take a break for a bit to let other parties gather

23   and collect themselves before we proceeded with confirmation

24   status.   How’s that?

25              MR. CONLAN: Very well, Your Honor.
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 1               THE COURT: Alright.

 2               MR. LANTRY: Your Honor, Kevin Lantry on behalf of

 3   the debtors for the Millen matter.           I don’t know if Mr.

 4   Millen is in the courtroom or on CourtCall.

 5               THE COURT: Well, let’s do this, as far as I know,

 6   he’s not on the telephone sign-up sheet, but I will ask for

 7   the record, Is Kevin Millen on the phone or in the courtroom

 8   or is anyone on the phone or in the courtroom on his behalf?

 9   I hear no response.      Just by way of background, Mr. Millen

10   has been communicating regularly with various units of the

11   Court.    I’ll comment, in many cases improperly, but as the

12   items in the binders show, there was something which I

13   thought could legitimately be interpreted as a request for

14   relief.   So, I asked that it be scheduled for hearing.             The

15   debtor has responded indicating, We can’t tell what relief

16   Mr. Millen is seeking.      What I gather from the debtor’s

17   response, however, is that among other things, his request

18   might be interpreted as a request for reconsideration of the

19   Court’s June 14th order sustaining the objection with respect

20   to four of his claims, which I understand basically arise as

21   described in his filings from a defamation claim resulting

22   from an article which appeared in November of 1998 in the

23   Hartford Courant.      The request could also be viewed as a

24   request for payment of administrative expense.               The request

25   cites Rule 3018, but as the debtor points out in its
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 1   response, none of the relief requested appears to be related

 2   to that rule.       So, that’s my capsulation of what the papers

 3   reflect as I read them, but at this point I’ll give the

 4   debtor the opportunity to say whatever it wishes to say in

 5   opposition to the request.

 6                MR. LANTRY: Your Honor, I think you summarized it

 7   very well.    We think his only involvement with the debtor’s

 8   estate arises from this article 10 years ago, actually 12, in

 9   1998, the disallowance of his proofs of claim relating to

10   that alleged slander on various substantive grounds.              It

11   could be that he’s asking for some sort of confirmation type

12   objection.    It could be, as you say, some sort of

13   administrative expense but nothing in what he has asserted

14   either in his proof of claim or in his pleadings seem to us

15   to generate something that is easy for you to grant relief

16   to.   So, we would concur, Your Honor, that at this stage, I’m

17   not sure what you would rule aside from it’s hard to grant

18   the relief requested.

19                THE COURT: Well, as with all pro se litigants, I

20   give them some latitude with respect to the design and

21   substance of their pleadings, but, particularly in his

22   failure to appear or join the telephone call and be heard in

23   support of his request for relief, I can’t divine any

24   legitimate basis for any relief that’s reflected in the

25   papers and certainly if I were to consider it a motion for
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 1   reconsideration of the June order, I find no basis for

 2   reconsidering it in his submissions.              I don’t see any basis

 3   for an administrative expense claim and to the extent he has

 4   rights in connection with objections to confirmation of the

 5   plan, those would be preserved.          So, for these reasons,

 6   whatever the relief is that Mr. Millen is requesting, at

 7   least with respect to this filing, will be denied, and I’ll

 8   ask the debtor to prepare a form of order and submit it.

 9              MR. LANTRY: Thank you, Your Honor.              And, for the

10   record, he did reach out by phone to local counsel on

11   Tuesday.   We responded and did speak with him about the

12   process to get on CourtCall and that’s the last we’ve spoken

13   or heard from him.

14              THE COURT: Alright, thank you.

15              MR. LANTRY: Thank you, Your Honor.

16              THE COURT: Alright.        Let’s take up the Examiner’s

17   motion.

18              MR. MINUTI: Good morning, Your Honor.                  Your Honor,

19   Mark Minuti from Saul Ewing.         I’m here today for Ken Klee the

20   court-appointed Examiner in these cases.              As Your Honor can

21   see, Mr. Klee is in the courtroom today.              This is the time

22   set for our motion seeking a discharge as well as certain

23   related relief which we think is customary and ordinary in

24   cases involving examiners.        This motion was filed on July

25   23rd, Your Honor.     It was originally scheduled for a hearing
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 1   on August 9th.      I think we’ve continued it a couple of times

 2   and we ultimately scheduled it for a hearing today.                  I think

 3   it’s important to note, Your Honor, that nobody had objected

 4   to hearing the relief requested today.              The original

 5   objection deadline for the motion was August 2nd.                  We granted

 6   an extension for the debtor to respond and the debtor is the

 7   only objector to the motion today.            And by way of background,

 8   as Your Honor is well aware, Your Honor entered an order

 9   appointing the Examiner.          You asked the Examiner to do an

10   investigation and issue a report.           The report deadline was

11   July 12, Your Honor.       It was subsequently extended to July

12   26th.   The Examiner filed his report on July 26.                 As the Court

13   well knows, it is a fairly lengthy document, it is very

14   complex.   It contains all of the Examiner’s conclusions, a

15   complete description of the investigation.               Your Honor will

16   recall that due to confidentiality issues on the 26th, we

17   actually filed a redacted report, but the Examiner then moved

18   and fought to really unseal the entire report.                On July 29,

19   Your Honor entered an order that allowed us to give the

20   unredacted report to all the parties including the debtor,

21   and so by July 29, the debtor had the full report, all of the

22   exhibits, the transcripts, and so on and so forth.                  The

23   Examiner continued to fight to have the report open to the

24   public, and Your Honor ultimately entered an order on August

25   3 that allowed us to publicly file the report and post the
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 1   exhibits.    That day, Your Honor, the report was made

 2   available to the public at large, and I think it took a day

 3   but by the next day all of the exhibits were posted on Epiq’s

 4   website.    So, certainly by August 4, Your Honor, the report

 5   was out there, the exhibits were out there, the transcripts

 6   were out there, as well as some models, Your Honor, that the

 7   Examiner’s financial advisors have performed.              Those were out

 8   there as well.      So, now while the Examiner was fighting to

 9   make its report public, Your Honor, the parties in the case

10   were debating before Your Honor whether it made sense to

11   stick with the current plan deadlines, and I think an

12   important point to understand the debtor’s position today is

13   that on August 3rd the debtor stood before Your Honor and

14   argued that a plan voting deadline of August 17th was enough

15   time for creditors, not just the parties, but creditors to

16   read, digest, understand the Examiner’s report and to vote on

17   the plan by August 17.      Now, absent further order from the

18   Court, the Examiner has complied with the Court’s orders.

19   We’ve completed the investigation, Your Honor.               We filed the

20   report.    As Your Honor knows it’s extensive, it’s complex.             I

21   mean, every piece of information that was relevant to the

22   investigation is in that report, and I think unprecedented,

23   Your Honor, we’ve also made all of the exhibits available and

24   even been available to all the parties since July 29.

25   They’ve been available to the public at large since the 3rd.
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 1    So all of those documents, Your Honor, for a long time now

 2    have been available, they’re one mouse-click away.                No one

 3    has suggested that the Examiner hasn’t completed what is

 4    required of him in the Examiner’s order.              Nobody has

 5    suggested he didn’t do his job, and nobody has suggested he

 6    hasn’t done his job well.       Under those facts, Your Honor,

 7    it’s time for the Examiner to be discharged.               Now, by this

 8    motion, Your Honor, we seek the following relief, all of

 9    which we think is ordinary and customary in the context of

10    examiner motions.     Number one, we seek a discharge.             We’re

11    asking for an injunction and relief from third-party

12    discovery.   We’re asking for exculpation of the Examiner and

13    his professionals.     We’d ask for a schedule and a procedure

14    to be put in place for final fee applications related to the

15    examination and the report, and we’ve also asked Your Honor

16    to provide for approval of funding of any fees and costs the

17    Examiner’s professionals may incur in the future should there

18    be, you know, should somebody contact the Examiner and want

19    some information relative to the report and the

20    investigation.     The point is, Your Honor, nothing we’ve asked

21    for is unusual or extraordinary in the context of examiners

22    in other cases.     We’ve attached all the orders to our motion,

23    Your Honor, and as you look at those orders, all of the

24    relief we’re asking for here are in those orders and have

25    been granted by those other courts.              As I said, the sole
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 1    objector here, Your Honor, is the debtor and the debtor

 2    really doesn’t raise any substantive objection with any of

 3    the relief we’ve requested.        What they said basically is,

 4    it’s premature, we need more time to review and digest the

 5    report, and number two, Your Honor, they’ve raised what I’ll

 6    call some procedural issues relative to the record and the

 7    Examiner, and we tried to address those procedural issues,

 8    Your Honor, by marking up the order.             I’ve handed out a clean

 9    and blackline of the order to everybody in the courtroom.            To

10    the extent anybody didn’t get them, I have them sitting on

11    the railing behind me, and if Your Honor will permit me, I’d

12    like to approach and hand Your Honor up a clean and blackline

13    of the proposed order as proposed by the Examiner?

14                THE COURT: If you would.        Thank you.

15                MR. MINUTI: Your Honor, turning to the debtor’s

16    arguments, the first argument here, Your Honor, is that the

17    debtor simply says they need more time to review and digest

18    the report before Your Honor grants any relief, and frankly,

19    Your Honor, this argument simply has no credibility with the

20    Examiner.   It’s important to point out, Your Honor, that in

21    this case, the Examiner was asked to investigate causes of

22    action really that had been in this case since the beginning.

23    So, it’s not like on July 29, when everybody got access to

24    the full report, these were brand-new issues, these issues,

25    Your Honor, of the causes of action and the defenses have
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 1    been in this bankruptcy case from day one.              They were

 2    investigated before the Examiner was appointed.               They were

 3    proposed to be settled pursuant to the plan.               My point, Your

 4    Honor, is that these are not new issues.              The parties have

 5    been dealing with these issues for a long time.                   Now,

 6    clearly, the Examiner’s report was a key document in these

 7    cases.   When it comes to the debtor, Your Honor, we’re

 8    talking about an international law firm, hundreds and

 9    hundreds of lawyers.      This is a key issue in this case.

10    There is no doubt in my mind, Your Honor, that a team of

11    lawyers at the debtor’s counsel’s office have gone through

12    this report with a fine-tooth comb.              They know it.     They

13    understand it.     There’s no further time needed to digest it,

14    and perhaps the best evidence of that, Your Honor, is what

15    Your Honor has seen over the last couple of weeks.                 Clearly

16    the parties are engaged in substantive discussions regarding

17    the plan.   How could that possibly happen if the debtor

18    doesn’t understand the report or haven’t digested the report,

19    Your Honor?

20                THE COURT: I don’t know how much I’ve seen.                  I

21    think the window’s a little opaque, but that may not be a bad

22    thing.

23                MR. MINUTI: Well, I - Look, you’ve a lot of people

24    that have different views here, but how can you even sit down

25    at the table without having reviewing and digested and
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 1    understanding the Examiner’s report, I just buy it, Your

 2    Honor.

 3                THE COURT: Well, it’s obviously been a driving

 4    force in what has developed recently.

 5                MR. MINUTI: Your Honor, we hope that is the case,

 6    and we welcome that, Your Honor.           We think that would be a

 7    meaningful point or purpose of the report, and we would think

 8    that’s why Your Honor wanted us to prepare it.               Now, the

 9    debtor’s position, Your Honor, lacks further credibility when

10    you consider the fact that they stood before you on August 3rd

11    and argued the creditors could review the report, digest the

12    report, and be in a position to vote on the plan on August

13    17.   So, we think the debtor has had more than enough time,

14    Your Honor, to review and digest this report.               Again, it’s

15    simply not credible that more time would be necessary.

16                THE COURT: Well, others may be more able than me

17    and this I cheerfully concede, but I’ve been making my way

18    through in small doses, and I confess I’m not yet finished.

19                MR. MINUTI: Well, I think the difference may be,

20    Your Honor, is, the debtors are keenly - Your Honor’s dealing

21    with a number of cases.         The debtors are dealing with this

22    one case.

23                THE COURT: I’m a little bit understaffed compared

24    to the debtors, so I’ll concede that.

25                MR. MINUTI: Your Honor gets my point.             Your Honor,
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 1    the next point that the debtor raised in their opposition is

 2    that, Don’t enter this relief today, it may be premature

 3    because we may need to take discovery of the Examiner to

 4    probe the findings in the report.          Well, Your Honor, I can

 5    think of no greater argument to support my motion than that

 6    position the debtor takes.        It is crystal clear from the case

 7    law and all of the orders that we cited to Your Honor that

 8    the Examiner is a quasi-judicial officer.             The Examiner

 9    should be free from discovery except in very limited

10    circumstances which have been carved out in other cases and

11    we’ve carved out here.      The fact that the debtor is

12    suggesting that Your Honor shouldn’t grant the Examiner

13    relief so somebody can take discovery of him is exactly the

14    reason why we want it, Your Honor.

15               THE COURT: Well, and you’ve provided in the

16    proposed form of order for parties to avail themselves of

17    such relief if they wish to have it.

18               MR. MINUTI: Exactly, Your Honor.

19               THE COURT: Okay.

20               MR. MINUTI: Your Honor, the next issue that the

21    debtor raised were some unspecified concerns regarding the

22    possible destruction of the record by the Examiner and his

23    professionals.     As we pointed out in our reply, all of the

24    professionals have document retention policies, including the

25    Examiner, that were approved as part of Your Honor’s approval
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 1    of the retention applications, but to make it crystal clear,

 2    Your Honor, and you’ll see it when you look at the blackline,

 3    we’ve added a provision to the order that provides as

 4    follows: We’re going to keep everything we have for two

 5    years.    At the end of two years, we’re free to discard it or

 6    destroy it if we like except that anybody, Your Honor, can

 7    come before Your Honor before that two-year period and get an

 8    order extending that deadline.          We think that’s a fair

 9    compromise, Your Honor.         It causes the record to be

10    preserved, and the parties certainly are going to be in the

11    best position to know whether the record should be destroyed

12    or not.   Let’s put the burden on them and not the Examiner to

13    come forward and extend that two-year deadline, if that’s

14    necessary, Your Honor.

15                THE COURT: You previously suggested that the

16    investigative record as it’s termed in the papers be turned

17    over to Epiq but that would involve, as I understand the

18    submission, some expense to the estate.             I take it that the

19    Examiner’s agreement to retain these records would not

20    involve additional expense to the estate?

21                MR. MINUTI: Well, let me respond to your question

22    because I want to be precise here, Your Honor.               We define the

23    investigative record as anything we used in the report -

24                THE COURT: Uh-huh.

25                MR. MINUTI:    - okay, that has been turned over to
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 1    Epiq.   So, anything we cite in the report, all of the

 2    transcripts, the financial models we’re talking about, that’s

 3    been turned over, it’s at Epiq, anybody can get that, it’s a

 4    mouse-click away.

 5                THE COURT: Well, in the motion, you had asked that

 6    the Court authorize Epiq to make it available to others, but

 7    there wasn’t any operative provision in the proposed form of

 8    order that provided that.

 9                MR. MINUTI: Your Honor, if Your Honor will recall,

10    the order that Your Honor entered on August 3rd, which allowed

11    us to make it public, permitted us to provide that to Epiq.

12    So that all occurred on the 3rd and the 4th.

13                THE COURT: Alright.

14                MR. MINUTI: I think what the debtor is really

15    concerned about, Your Honor, is not those documents but it’s

16    other documents the Examiner and professionals obtained

17    during the course of their investigation that for whatever

18    reason didn’t make its way into the report because obviously

19    the report and the exhibits are not the total of what we

20    received.   So, I think that’s what we’re talking about.         It

21    would also be, Your Honor, anything privileged that the

22    Examiner has, communications, internal lead memos, all of

23    those sorts of things.

24                THE COURT: But all of those things you propose to

25    retain for the two-year period.
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 1               MR. MINUTI: Correct, correct, Your Honor.             We

 2    propose to retain.     So that really brings us to the next

 3    issue, Your Honor, and this is one that the debtor didn’t

 4    even raise in their opposition, and what the debtors have

 5    proposed is, they would like us to turn over all of the other

 6    stuff, not anything confidential subject to privilege or work

 7    product, they would like us to turn over everything else to a

 8    document depository for access so any other party in the case

 9    can grant access to that.       And, Your Honor, we think that’s

10    wholly inappropriate, and let me tell you why we think that’s

11    the case - really, primarily two reasons, Your Honor.             Number

12    one, Your Honor, when Your Honor entered the work plan orders

13    in these cases, the rules under the work plan and how the

14    Examiner would do his investigation were very clear.             What it

15    said was, if somebody gives us a document or gives us a piece

16    of information and we use it, any claim of privilege or work

17    product is gone.     However, if we don’t use it, those claims

18    are preserved.     So in order for us to do what the debtor is

19    suggesting, we would have to go through all of that material

20    to determine whether anything is subject to these claims of

21    privilege or work product.        We’re then going to have to

22    negotiate with the parties that may make those claims, try to

23    resolve it, if we can’t, come back before Your Honor.             That

24    is going to be a very long, very difficult, and very costly

25    proposition to the estate if the Examiner and his
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 1    professionals are required to do that.            Point number two,

 2    Your Honor, as we talked about before with the discovery

 3    issue, there is a carve out.        If somebody comes forward with

 4    a motion and there’s a document that we have they couldn’t

 5    get somewhere else, there’s a carve out for that.                They can

 6    ask Your Honor to require us to turn it over.              We can have a

 7    hearing, we can deal with that, Your Honor.             So, that’s point

 8    number two.    Point number three, Your Honor, this is not an

 9    easy proposition to simply go through these documents, try to

10    figure out what they are, and give them to a third party.

11    This will take a lot of time, Your Honor, in order to put

12    this together, and it will be very costly to the estate,

13    forget about the privilege issue, just amassing everything.

14    There’s simply no need for us to do that.             The final point,

15    Your Honor, I think this is the strongest one, when we look

16    at the case law, the case law is crystal clear, the Examiner

17    is not supposed to be a substitute or the discovery person

18    for all the parties in the case.          The Examiner is an agent of

19    the Court.    The Examiner does an investigation.            It’s not for

20    the parties then to take advantage of that investigation and

21    use the discovery.     Your Honor was very clear in this at the

22    outset of the investigation because you’ll remember

23    Wilmington Trust stood up and said, Hey, we want to tag

24    along, we want to be part of this.          And the answer was, No,

25    you can’t.    The Examiner is going to do his thing.             You can
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 1    do your thing in the context of litigating over the plan.

 2    So, if you’ll remember, Your Honor, we don’t have anything

 3    that anybody in this courtroom can’t get from a third party

 4    through a subpoena, Your Honor.          So, there’s no real reason

 5    why it is we should have to turn over documents we didn’t

 6    use.   If it was relevant, Your Honor, it’s cited in the

 7    report, and it’s already available to anybody who wants it.

 8    Next, Your Honor, the debtors point to the other examiner

 9    cases and they argue that the time period between the filing

10    of the report in those other cases and the discharge of the

11    examiner was a longer period of time and therefore the period

12    should be longer in this case.          Well, I think that’s really

13    an argument with no substance, Your Honor.              If anything when

14    you look at those cases, what they tell us is, each case

15    turns on its own facts.         Your Honor will recall in New

16    Century, one the reasons why the discharge order took so long

17    is because the examiner in that case was proposing to share

18    information with the government and the litigation trust and

19    actually shared privileged information with those parties and

20    you had other litigants that were saying, Hey, that’s not

21    fair, number one, and number two, that waives the privilege,

22    so it took awhile for Your Honor to decide those issues.

23               THE COURT: Oh, I remember.

24               MR. MINUTI: But the point is, Your Honor, each case

25    turns on its own facts.         Those certainly aren’t our facts in
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 1    this case.

 2                 THE COURT: No, but here the debtor’s saying, Look,

 3    the caldron is still bubbling, and you know, until it comes

 4    down to a low simmer, we’d just like to keep the options

 5    open, put it that way.

 6                 MR. MINUTI: I disagree with that, Your Honor.

 7    Here’s why I disagree with it.         Clearly the caldron is still

 8    bubbling with respect to plan negotiations and plan

 9    litigation if that’s going to happen.            The caldron is no

10    longer simmering with respect to the investigation and the

11    report.   It’s completed.       There seems to be a notion and a

12    fear here, Your Honor, that if you enter the relief we’re

13    asking for today, the Examiner disappears, nobody’s going to

14    be able to find him, and he’s not going to be available to do

15    any further work in this case.         Nothing can be further from

16    the truth.    Mr. Klee is a fairly public person.            He’s

17    prepared to take the podium today.

18                 THE COURT: He’d be like OJ.         He’d never get away.

19                 MR. MINUTI: Your Honor, he’d never get away, but,

20    Your Honor, I can’t emphasize this enough and I know Mr. Klee

21    would say the same thing if he was at the podium, we did a

22    lot of work in this case.       We’re very proud of the work that

23    we did.   If the work that we did and the background we now

24    have will be of further assistance to the Court or the

25    parties down the road, we welcome it, Your Honor.                We’d love
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 1    to do it, but that’s a different charge at a different time

 2    and Your Honor can enter an order down the road requiring us

 3    to do whatever you think is appropriate in the case.                With

 4    respect to the Examiner order -

 5               THE COURT: Remember you said that, Mr. Minuti.

 6               MR. MINUTI: And I mean it, Your Honor.                I mean, I

 7    mean it.   Mr. Klee, Your Honor, had offered himself to the

 8    parties to mediate disputes.        If there’s a role for him as a

 9    mediator down the road, he’d be happy to do that.                If there’s

10    a further role in the investigation, whatever he can do, Your

11    Honor, to help, he’s prepared to do that, and he’s not going

12    anywhere, and as I said, there seems to be this notion that

13    if Your Honor grants this relief today, you can’t enter an

14    order down the road re-engaging Mr. Klee.             Nothing could be

15    further from the truth, Your Honor, and to make it crystal

16    clear, we’ve added a sentence to our proposed order that

17    basically says any order Your Honor would enter today is

18    without prejudice to re-engaging him down the road.                We’d

19    welcome the opportunity, Your Honor.             Next, Your Honor, the

20    debtors have asked the Examiner - notwithstanding the

21    discharge, the debtors have asked the Examiner to cooperate

22    down the road.     To respond to that request, Your Honor, we’ve

23    added language to the proposed order that essentially says,

24    Notwithstanding the discharge, if anybody asks the Examiner a

25    question or has an inquiry of the Examiner related to the
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 1    investigation or the report, he’s going to respond to

 2    reasonable requests.      Finally, Your Honor, the debtors have

 3    asked that any future fees or costs that the Examiner and his

 4    professionals may incur be subject to some sort of notice and

 5    objection procedure.      You know, that’s certainly a reasonable

 6    request.   We’ve built that into the order, Your Honor.            What

 7    we’ve provided is, we’re going to provide our invoices to the

 8    debtor, the Committee, the United States Trustee’s Office.

 9    If somebody has a problem they can object within 10 days.             If

10    we can’t resolve it, we’ll be back before Your Honor,

11    otherwise we’ll try to resolve it.          We think that’s a fair

12    compromise, Your Honor.

13                THE COURT: I do too because it was a concern I had,

14    and I think it’s been adequately addressed.

15                MR. MINUTI: Thank you, Your Honor.            So, Your Honor,

16    look, when I cut through and really try to think about why

17    we’re here today and, you know, look, we don’t want to be

18    viewed as litigious here, Your Honor.            We really want to do

19    what the Court wants us to do, and we want to be of

20    assistance if we can, but we stand here and we sit back and

21    we sort of take a look at what’s really happening, what’s

22    really happening is, all the parties, I think, are really

23    focused on trying to resolve the case.            That’s a great thing,

24    Your Honor, we support that, and we support that in any way

25    we can.    The problem is, Your Honor, while they do that, the
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 1    real fear here is, I think, that those negotiations will

 2    break down, we’ll then have a litigation, and something may

 3    come up down the road that may implicate the Examiner, and I

 4    think the debtor’s afraid that if Your Honor enters this

 5    order today it’s somehow going to prejudice them down the

 6    road.    I get that, Your Honor, and I understand that concern.

 7    The problem with that, Your Honor, is it’s simply unfair to

 8    the Examiner, just have their Examiner sit on a shelf in

 9    limbo with really no protections, no guidelines, no rules in

10    terms of what he’s doing while that process unfolds, Your

11    Honor.   Given the fact that he’s done with what the Court has

12    asked him to do, it’s appropriate to discharge him.                As I

13    said, if there’s a role for him in the future he can be re-

14    engaged, and this really goes beyond just this case, Your

15    Honor.   I mean, this is really an examiner issue.                Examiners

16    are quasi-judicial officers.         They answer to the Court.         They

17    do what the Court tells them to do, and when you go back and

18    look at the work planning orders, it’s very specific.                It

19    gives everybody a roadmap and rules to follow.               Here’s what

20    the Examiner’s going to do.         Here’s how confidentiality is

21    going to be dealt with.         Here’s what you do about privilege.

22    After the report is filed, Your Honor, the Examiner is now in

23    limbo without any protections, and I think he’s entitled to

24    those protections today, and we should close the book on the

25    report and the investigation because it’s concluded, and we
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 1    can do that today, Your Honor.         Your Honor, the only other

 2    thing I didn’t mention and we can deal with this I think

 3    after the debtor argues, is we would like a schedule for

 4    final fee applications related to the investigation and the

 5    report, and unless Your Honor has any questions of me, I’ve

 6    concluded.    I would like to give Mr. Klee an opportunity to

 7    address Your Honor if he would like to.

 8                 THE COURT: Well, while he’s coming forward, let me

 9    ask this: I know that you suggested dates for deadlines for

10    filing fee applications and objections thereto.              I looked at

11    our calendar and I saw there are a number of hearings coming

12    up apart from confirmation but none of them on the calendar

13    were listed at fee hearings.        I don’t know whether the debtor

14    has a notion of when the next quarterly fee hearing should

15    be.   Any idea, Mr. Pernick?

16                 MR. PERNICK: Your Honor, can I have one moment?

17                 THE COURT: Certainly.      Mr. Klee.

18                 MR. KLEE: Good morning, Your Honor.           Kenneth N.

19    Klee, Examiner.     Your Honor, I ratify what Mr. Minuti said

20    and just wish to underscore to the Court my desire to be of

21    service to the Court in this case.          I think this motion has

22    been misconstrued as an effort on my part to cut and run.

23    That is not what this motion is about.            This motion is about

24    giving me as Examiner and other examiners in the future

25    closure on the types of protections that they should be
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 1    entitled to as quasi-judicial officers in having done and

 2    completed an investigation.        It sets forth crystal clear

 3    guidelines on what the rules of engagement will be to obtain

 4    information, discovery, and the like, and the protections

 5    that the Examiner will have.        That’s our sole purpose in

 6    filing it.    Should the Court wish me to be a court-appointed

 7    expert or to serve as a mediator or to do further

 8    investigation, I’m happy to do that, and I want there to be

 9    no doubt on that score.

10                 THE COURT: Remember you said that.

11                 MR. KLEE: Thank you, Your Honor.

12                 THE COURT: Thank you.      I’ll hear from the debtor.

13                 MR. BENDERNAGEL: Your Honor, Jim Bendernagel from

14    Sidley & Austin for the debtor.         We have essentially two

15    points that we tried to make.         The first point is that we

16    believe that the motion is premature at this juncture.             We’re

17    not looking to extend this indefinitely into the future, but

18    I think the position we’ve taken in this regard has been

19    misapprehended by the Examiner and his counsel.              The problem

20    isn’t that we’re slow readers and we weren’t able to get

21    through the report in the time period.            It is a sizeable

22    report but we have finished reading it, and I’m quite sure

23    other parties have finished reading it.              The real question

24    though is, what is the significance of the Examiner’s report

25    on where this case is going and what role, vis-a-vis that
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 1    report, is left for the Examiner on a going-forward basis,

 2    and we don’t now the answer to that question.

 3               THE COURT: Well, the Examiner says there’s no role

 4    left, and frankly, there’s some allure to the position that

 5    he’s done what the Court has asked him to do.

 6               MR. BENDERNAGEL: Well, he has done what the Court

 7    has asked preliminarily, but here, let me give you a

 8    hypothetical and the like.        The Examiner, long report, makes

 9    a lot of findings.     There are areas where we’ve indicated we

10    disagree with what the Examiner said.

11               THE COURT: And I’m sure there’s something for

12    everybody in the report.

13               MR. BENDERNAGEL: No, but the more important point,

14    where I’m going to with this, is that to the extent somebody

15    comes back and makes the statement that the Examiner’s wrong

16    with respect to this particular item because he ignored

17    significant evidence that’s not reflected in the

18    investigative report or record, the question becomes, does

19    the Court want to reach out and say to the Examiner at that

20    juncture, Well, is that true or not true?             And that’s what

21    we’re looking for in terms of, is there a role for the

22    Examiner based on the fact that the parties are coming

23    forward.   They don’t know what they’re specifically going to

24    do as a go-forward basis.       Maybe we’ll get some enlightenment

25    on that today, but it seems that that’s premature at this
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 1    juncture to say he’s done because it’s not clear he’s done.

 2                 THE COURT: Well, what’s wrong with the Examiner’s

 3    position that, Look, if that happens, we’ll talk to you, and

 4    if you don’t like my answer, go to the Court and the door’s

 5    still open here if you need it, but why leave it open when

 6    there’s not such a situation that’s, I’ll say, ripened?

 7                 MR. BENDERNAGEL: Well, because -

 8                 THE COURT: And which may never.

 9                 MR. BENDERNAGEL: Well, yeah, but give us a - Look,

10    the reality here is we haven’t left a lot of time for it to

11    ripen.   This is the quickest - of all the examples we’ve

12    seen, this is the quickest anybody’s asked for discharge,

13    less than a month, and the fact of the matter is, in these

14    other cases, it was much more clear where the case was going

15    when the discharge happened, and that’s not clear here, and

16    the second thing is, the idea that you’re going to disengage

17    him only to re-engage him seems like the cart is in front of

18    the horse.    We have the guy engaged, why should we have to go

19    through that again?

20                 THE COURT: Well, let me just make this comment and

21    the Examiner hasn’t used these words, but in a case that is

22    as highly contentious as this one, and I seem to have in the

23    last year gotten a steady diet of them, I wonder sometimes

24    whether it’s me.     He doesn’t want to be your pinata and I

25    think that’s a fair concern.
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 1                MR. BENDERNAGEL: I’m not particularly interested in

 2    using him as a pinata.      That wasn’t our intention at all,

 3    Your Honor.

 4                THE COURT: And I wouldn’t have expected you to tell

 5    me that.

 6                MR. BENDERNAGEL: No, and look, in fairness, I think

 7    that’s true.   I mean, we’re not interested in using him as a

 8    pinata.    There may be situations where it would be helpful to

 9    get his perspective, and we thought that it was just

10    premature at this juncture - and we’re not talking about

11    extending this a long period of time.            On the other hand,

12    Your Honor, in some respects, this is your call.                 We opposed

13    the Examiner to begin with.        To some degree, the Examiner was

14    brought in to assist you.       If you’re saying, I don’t need

15    this guy anymore, why I don’t need to keep him under this

16    engagement, I mean, we’re not going to fight with that.

17                THE COURT: Well, let me say this -

18                MR. BENDERNAGEL: We think that there is a benefit

19    to keep him around.

20                THE COURT: I’ll ask the same question I asked in

21    New Century and you don’t have to answer.             Is there anyone

22    who thought I wasn’t going to appoint an examiner under these

23    circumstances?     I mean really.

24                MR. BENDERNAGEL: Okay, well, I’ll answer it.               Yeah,

25    we didn’t think you were going to appoint an examiner, but we
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 1    wouldn’t oppose it.     We’re not that stupid, but - Let me go

 2    onto my second point.

 3               THE COURT: Go ahead.

 4               MR. BENDERNAGEL: The second point has to do with

 5    the specific procedures, and I have talked with Mr. Minuti

 6    about some of the changes that they made.              We still think

 7    that there are changes that ought to be made.               We had

 8    circulated to some of the parties last night and to Mr.

 9    Minuti a version of the order that we’d prefer to see

10    entered.   If I might hand it up to you, if that would be

11    helpful.

12               THE COURT: Certainly.

13               MR. BENDERNAGEL: I’ll make copies available to

14    anybody that doesn’t have it.

15               THE COURT: Thank you.

16               MR. BENDERNAGEL: Your Honor, there were essentially

17    four areas that we had concerns about, and Mr. Minuti in his

18    comments had addressed all of them.              The first area was the

19    duty to cooperate.     They’ve added some language.               We’ve added

20    some language.     We think our language is better.               We really

21    haven’t closed issue on this because time got short and Mr.

22    Minuti said, well, you’re opposing the whole thing anyway, so

23    we can deal with that later, but our paragraph (3) is what

24    we’d prefer as the language with respect to the continuing

25    duty to cooperate.     As you can see in paragraph (1), this
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 1    provides for termination and the like, but that’s - the first

 2    issue is, our initial concern was there was no duty to

 3    cooperate.   We’ve raised that with the Examiner’s counsel.

 4    They agreed that it wasn’t explicit.             They said they’d add

 5    something.   They added something.         We proposed alternative

 6    language.    I think our language is more in line with the

 7    language you see in the orders that’s attached to the

 8    Examiner’s motion for New Century and other places, but, you

 9    know, I think this is more just a question of which is the

10    better language on a go-forward basis, and we prefer our

11    language, but I think the concept both parties are agreed to,

12    so.   The second issue has to do with document retention, and

13    we address this in paragraphs (4), (5), and (6).                 Obviously

14    our addressing it is a little longer than theirs.                The good

15    news here is there’s agreement that the documents will be

16    preserved for two years.        The two issues are as follows: One

17    is, who has the burden with respect - in two years should the

18    Examiner move or should the parties move to extend the time

19    period?   You’ll see in paragraph (6) we suggested that the

20    Examiner be required to give notice that he’s going to

21    destroy the documents and give people 30 days to come in and

22    say something.     That is the traditional way it’s done.             Every

23    one of the orders that’s attached to the Examiner’s motion

24    has that type of language, and I think from his perspective

25    he’s better protected if he gives notice so somebody can’t
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 1    say, I didn’t remember because there may be parties that are

 2    affected by this that aren’t right now involved in this

 3    bankruptcy proceeding and as a consequence I think from his

 4    perspective and from future examiners’ perspective, the

 5    better practice is to give notice you’re going to destroy

 6    something before you do it.

 7               THE COURT: Well, you started this part of the

 8    discussion with reference to the burdens.             Now, I don’t think

 9    it’s a bad idea given the passage of time that such a motion

10    be filed, but I don’t necessarily think that the burden here

11    on what should happen should fall on the movant if the movant

12    is the examiner as it normally would.            It seems to me that if

13    someone opposes destruction, they ought to have the burden of

14    demonstrating why it shouldn’t occur.

15               MR. BENDERNAGEL: I agree with the burden.             The

16    question is notice, as opposed to the burden.              I don’t have

17    any doubt that whoever - that the examiner shouldn’t be put

18    in the point of saying, Why shouldn’t I keep this longer.

19    Somebody should explain why it’s necessary, and that burden

20    ought to be on the moving party in that respect, and I think

21    this provides that if in fact you want this not to be

22    destroyed, you have to come in.         The point I’m making is that

23    there ought to be notice that this is going to happen just to

24    make sure people know that it’s going to happen and they’re

25    put on things that says you’ve got to come in.              That’s our
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 1    point.

 2                THE COURT: I understand.

 3                MR. BENDERNAGEL: And the other two paragraphs, (4)

 4    and (5), are to add a little more definition to what it is

 5    the record is because it’s a little bit unclear.                 I mean

 6    there are three portions to this record in our view.                The

 7    first point is non-controversial, it’s what’s been defined as

 8    the investigative record, which is everything that’s been

 9    given to Epiq and it’s available in the public and there’s no

10    real issue with respect to that.          The rest of the documents,

11    in our view, fall into two categories, and we’ve addressed

12    those or tried to in paragraphs (4) and (5).              We’ve

13    characterize other documents as basically being what we

14    perceive to be non-privileged material that the Examiner

15    collected in the course of his examination that really ought

16    to be put into the document depository for the parties to

17    utilize.    This is material that probably should have been

18    produced all along or it’s material that’s in these

19    unprofessionally transcribed transcripts of these interviews.

20    As you know, some of the interviews were under oath and

21    reported.   Others were less formal but there are apparently

22    transcripts that were put together by individuals, and the

23    transcripts have enough authority that the Examiner felt it

24    was appropriate to quote from these transcripts in his

25    report, and the point is, while there’s no work product
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 1    associated with these transcripts and in order to assess the

 2    comments that the Examiner selected out of these reports,

 3    you’d want to see the rest of the transcript, and it seems to

 4    me that those transcripts ought to be made available so that

 5    people can assess the context in which the Examiner made

 6    these statements.     Now, this is not a witch hunt for the

 7    Examiner.   I mean, the Examiner made his best judgments, and

 8    that’s fine and dandy.      The point is though that people are

 9    going to have to move forward.         You’ve got this evidence of

10    what people have said.      Obviously, it isn’t as authoritative

11    of something that was under oath, and, you know, transcribed

12    in front of a court reporter, but it is a report and my sense

13    is you can’t get that information from somebody else and you

14    might as well just deal with now because I think you’re going

15    to get discovery requests along those lines because you can’t

16    get it from someplace else, and I think that’s legitimate.

17    The second category is documents that they got from either

18    the debtor or other people as they went along and they

19    decided for whatever reason they weren’t going to be included

20    in the investigative report.        That material is still part of

21    the record, and it ought to be made available.              Now, I’m

22    sympathetic to his point that there might be material that

23    was provided to the Examiner that was privileged, not

24    confidential, privileged, and that the way we structured that

25    is, we sort of gave the Examiner the ability to pull the
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 1    trigger on the privilege.       Well, people that gave that

 2    material know what they gave them that was privileged, and

 3    those people can certainly identify what it is they gave that

 4    they do not want disclosed, and the burden shouldn’t be on

 5    the Examiner.      It ought to be on the parties that provided

 6    that material, but if they provided material that was just

 7    material relating to the transaction that somehow it didn’t

 8    get picked up by the Committee’s discovery or other people’s

 9    discovery, it ought to be in the record, and that’s all we’re

10    asking for.   The other documents in summary consist that

11    these document that were produced that are not privileged,

12    they may be confidential, put them in the document depository

13    and the transcripts of the interviews that weren’t

14    professionally transcribed.        The rest of the stuff is dealt

15    with in paragraph (6), and it’s privileged material, and, you

16    know, what we’ve said in (6) is nobody’s waiving their rights

17    to challenge the privileged material if it is privileged,

18    isn’t privileged, that’s for another day, and that would be

19    picked up in connection with any discovery in that regard,

20    and we just feel that this is a better exposition of what the

21    issues are that are that there and the like, and, you know, I

22    think this can all be dealt with later in discovery but it

23    seemed important to us to get this out on the record at this

24    juncture in terms of this termination.            The other issues

25    really are fairly minor.        We have proposed language with
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 1    respect to what - we tinkered with the language that they

 2    used to talk about what discovery would be available in the

 3    future.   I don’t think parties ought to be enjoined from

 4    seeking discovery, I think, and we’ve made that correction.

 5    I don’t think it’s a big deal, but I don’t see how you enjoin

 6    people from pursuing their rights.          We can give him

 7    protection, we’re perfectly willing to do that, but people

 8    shouldn’t be under some kind of threat of violating a court

 9    order because they decide to seek material.             And then the

10    last issue had to do with specific notice requirements with

11    respect to additional fee applications down to futures

12    resulting in any work they do in this regard, and it just

13    seemed to us that there ought to be notice provisions, that

14    there ought to be a cap if the number’s above $100,000.

15    That’s what we bracketed in, put some number if we can’t just

16    pay that without bringing it to the Court’s attention, and

17    that’s what we tried to deal with there.             They’ve tried to

18    deal with that as well, but you see our alternative language.

19    So, in summary, I think we’ve made progress with the Examiner

20    in terms of trying to work out these issues, but we’re not

21    all the way there.     We’ve given you some selected language.

22    The Examiner has provided you with his view of the world.               We

23    really haven’t had an extensive dialogue on this because we

24    had the basic question of whether there was going to be

25    discharge at all.     If you decide to discharge and the
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 1    discharge is subject to his coming back at some future point,

 2    their being re-engaged, you know, we’d be perfectly willing

 3    to sit down and try to work out the details of this language,

 4    but I do think it’s important that whatever the debtor has

 5    essentially paid for in connection with this Examiner in the

 6    way of developing the record, that that be available to the

 7    parties.   I mean this has been an expensive undertaking.        The

 8    idea that people can go get this material themselves when

 9    it’s just sitting there seems like a very inefficient

10    process.   I don’t think it implicates how examinations are

11    done or what was in your - I went back and read your May 10th

12    order, and it’s fairly clear in setting this up that you

13    basically reserved all these discovery issues till after and

14    the purpose of the provisions in your earlier orders was to

15    make sure that the Examiner wasn’t distracted by the parties

16    as he was trying to do his examination with respect to

17    discovery.    It’s my understanding that nobody’s done that,

18    so, you know, it’s now time to determine what we can

19    fruitfully gain, whether the record’s complete, and the fact

20    that the Examiner has said, This is all I think is relevant,

21    well, that’s great.     People may have different views in that

22    regard and if there’s additional documentation in the way

23    these transcripts and the like, just seems to me that’s it’s

24    appropriate that that stuff be put into the document

25    depository.   That’s all I have, Your Honor.
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 1               THE COURT: Thank you.        Does anyone else wish to be

 2    heard in connection with this motion?            Alright.

 3               MR. MINUTI: Can I respond briefly, Your Honor?

 4               THE COURT: No, and I’ll tell you why.             Let me just

 5    give you some general comments and then I’m going to give you

 6    some time to confer and see if you can’t close some of the

 7    gaps with respect to what the debtor wants and what the

 8    Examiner wants.     I am going to discharge the Examiner today.

 9    I think the arguments that have been made in support of that

10    relief are meritorious and I am going to grant that relief.

11    I am not going to require, as the debtor proposes in its

12    paragraphs (4) and (5), that the Examiner turn over other

13    documents or privileged documents or provide privileged logs.

14    I just don’t think it’s fruitful at this point especially

15    given the stage of, I think what I’m about to be told, to

16    open that door, and the order that’s been proposed doesn’t

17    preclude the door to be opened, but I think it’s better that

18    those requests be considered under specific circumstances.             I

19    think the debtor’s idea that notice be given at the end of

20    the two-year period is a good one, but I think the order

21    ought to make clear that any party opposing destruction,

22    except the Examiner, has to carry the burden that that’s the

23    relief that should be granted.         Bear with me for a minute.

24    I’d like the parties to confer and see if they can’t agree on

25    language for their respective paragraph (3)s.              If they can’t,
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 1    I’ll make a decision on that.         I don’t necessarily think it’s

 2    a bad idea that there be a threshold above which even in the

 3    absence of objection, the Examiner has to come back to the

 4    Court.   I’m hopeful that that number would never be reached.

 5    It’s high enough, it seems to me that it ought really - if

 6    things go as I hope they would, whether or not the case is

 7    consensually resolved, that the Examiner wouldn’t have to

 8    incur that much in the way of cost and expense.              Those are my

 9    comments.   I’d like the parties to take them and see if they

10    can get a little closer on the remaining language.               If not,

11    I’ll resolve whatever disagreements remain.             Mr. Pernick -

12                MR. PERNICK: Your Honor, just to answer your

13    question on fee applications.

14                THE COURT: Yes.

15                MR. PERNICK: The reason that I can’t give a

16    complete answer is I’m not sure where the fee auditor is on

17    the review, but we are through the first and second periods.

18    The fee auditor has the third period right now.              So, I assume

19    we’d have to give some more time.          It is not complete as far

20    as we’re aware.     So, I would think if the Court was looking

21    for an omnibus hearing date, you might want to look at the

22    October 22nd hearing or the November 23 hearing.

23                THE COURT: Okay.      Nancy, let me know if it matters

24    which date.   Take a quick look.        Is there any objection to

25    the other dates the examiner has proposed with respect to the
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 1    filing of final fee applications and objection date, which

 2    are August 31 and September 21 respectively?

 3               MR. BENDERNAGEL: No, Your Honor.

 4               THE COURT: Okay.       Alright, well, my thought is, we

 5    take a break for the parties to confer about that and to deal

 6    with other issues which we initially discussed.               Mr. Conlan,

 7    how much time do you think you need, and I know I’m asking

 8    the guy who said you didn’t want any time, but -

 9               MR. CONLAN: Do you mean how much time do I need

10    before we come back or how much time -

11               THE COURT: Yes.

12               MR. CONLAN: Not much time, Your Honor.

13               THE COURT: Alright.        Shall we say 11:30?

14               MR. CONLAN: Very well.

15               THE COURT: Alright, we’ll break until 11:30.              Court

16    will stand in recess.

17               (Whereupon at 10:57 a.m., a recess was taken in the

18    hearing in this matter.)

19               (Whereupon at 11:29 a.m., the hearing in this

20    matter reconvened and the following proceedings were had:)

21               THE CLERK: All rise.        Be seated, please.

22               MR. MINUTI: I guess it’s still morning, Your Honor.

23    Mark Minute again for the Examiner.              Your Honor, I’m happy to

24    report that I think we’ve worked out the mechanics of our

25    proposed order.     I think what we’d like to do, Your Honor, is
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 1    go back, draft the order itself.           We’ll provide it to Mr.

 2    Bendernagel.    Once we reach agreement, we’ll then circulate

 3    it to the parties, and if Your Honor is amenable, we’ll file

 4    it under certification of counsel.           If for some reason we hit

 5    a snag, Your Honor, we would ask the indulgence of the Court

 6    to maybe be available by telephone.               I don’t anticipate

 7    that’s going to happen, but that would be probably the most

 8    effective.

 9                 THE COURT: I’m okay with that process.

10                 MR. MINUTI: Terrific.       And as much fun as the rest

11    of the hearing looks, Your Honor, may the Examiner and his

12    team be excused?

13                 THE COURT: Yes.      I’d like to ask before that

14    happens though, Mr. Klee to step to the podium if he would.

15                 MR. BENDERNAGEL: One comment before that, Your

16    Honor.   I think it ought to be clear on the record though

17    that the Examiner is discharged as of today so that nobody

18    feels that in the interim they have the opportunity to do

19    something, so, and I think that’s clear, but just to make it

20    clear on the record.

21                 THE COURT: I do too.       Mr. Klee, I just wanted to

22    thank you directly for your efforts in this case.                  You’ve

23    been an enormous help to the Court, and I think maybe even

24    more so to the parties.         We’ll see how that turns out.          I’m

25    sure that without having seen the time records, I’m pretty
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 1    sure you gave up the better part of your summer under less

 2    than ideal conditions and time constraints to put together a

 3    very comprehensive report, which as I say, I’m not quite

 4    through yet, but I will read it, all of it, and I thank you.

 5                MR. KLEE: Well, thank you for your kind words, Your

 6    Honor.   It was a pleasure to do this investigation, and I

 7    thank the professionals who assisted me in doing it, and I

 8    thank the parties who were largely cooperative in responding

 9    to this examination, and I am hopeful that this report will

10    lead to a consensual plan in the case, and if not, that it

11    will certainly frame the context of any litigation that comes

12    before you.

13                THE COURT: Have a safe trip home.

14                MR. KLEE: Thank you.

15                THE COURT: Alright.       Now, Mr. Conlan.

16                MR. CONLAN: Good morning again, Your Honor.            Jim

17    Conlan on behalf of the debtor.         Your Honor, the debtor has

18    tried mightily to bring the parties together.              That has not

19    happened.   We have done that in reflection on the Examiner’s

20    report or after reflecting on the Examiner’s report in light

21    of our continued analysis of the facts, some prompted by the

22    Examiner’s report, some independent of that, in light of the

23    company’s performance.      All of that together brings us to the

24    place of being, I think, fairly well qualified to say that we

25    have a good sense of who’s being unreasonable, who’s
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 1    overestimating their leverage, who’s not in the process and

 2    in light of all of those factors I just mentioned, and so,

 3    what we’re going to do, the debtor, is we are going to file

 4    amendments to our plan and a supplemental disclosure motion

 5    and procedures motion, and we’re going to do that by Friday

 6    of next week, Friday, August 27th.         Those amendments will be

 7    designed to achieve a yes vote from all creditor

 8    constituencies who we believe, again, upon reflection, should

 9    be in the money and resolve this.          If we’re wrong about that

10    and we have one or more class rejections, then it is entirely

11    possible that we will need to initiate litigation relating to

12    the fraudulent transfer issues in the wake of that voting and

13    as part of or in advance of the confirmation hearing.            We

14    sincerely believe this is the way to move this process

15    forward.   The confirmation hearing on the other side of that

16    Friday, August 27th plan amendment filing is Monday, November

17    8th, the date Your Honor mentioned when we were just here.            We

18    have dates in between in mind.         We’d rather hold in terms of

19    walking through those dates with you until to be procedurally

20    appropriate until after we filed those plan amendments and

21    then motion for approval of a supplemental disclosure

22    document and procedures motion.         And I’m going to stop there.

23               THE COURT: Alright.        I’ll hear from others in a

24    moment since this is technically a status on confirmation,

25    but let me ask the debtor to do this, even before you file
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 1    your plan amendments and revised disclosure and suggest a new

 2    timeline for voting, that you file a notice today on the

 3    docket that simply indicates that’s what you reported to the

 4    Court and that’s what the debtor intends to do so -

 5               MR. CONLAN: Will do.

 6               THE COURT:     - those who consult the docket will be

 7    able to tell how the continued hearing was addressed.

 8               MR. CONLAN: Very well.

 9               THE COURT: Thank you.

10               MR. CONLAN: Thank you.

11               THE COURT: Does anyone else wish to be heard in

12    connection with confirmation status?

13               MR. SEIFE: Good morning, Your Honor.             Howard Seife

14    for the Official Committee of Unsecured Creditors.               Your

15    Honor referred to this case earlier today as contentious,

16    which I certainly can’t quarrel with in many respects, but it

17    really maybe is more analogous to bungee jumping where you’re

18    jumping off a bridge, you think you’re just about down to the

19    bottom, and you get jerked up again.

20               THE COURT: You know, I’ve always wanted to try

21    that, but my wife won’t let me.

22               MR. SEIFE: Well, this is kind of a sensual

23    experience for Your Honor without actually having to jump off

24    the bridge.

25               THE COURT: Well, then, don’t tell it.
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 1                 MR. SEIFE: There are a lot of things I can’t tell

 2    her or Your Honor today, but if you would ask me Tuesday

 3    where we were in trying to arrive at a consensual resolution,

 4    I would have given you a very optimistic report because on

 5    Tuesday it looked like we had reached a breakthrough and had

 6    made substantial progress, but then the cord jerked us up

 7    again, and by Thursday, it looked like a very different

 8    situation.    What Mr. Conlan alluded to today does not

 9    represent something which the Committee was aware of till he

10    approached us in court this morning.             So it is a new

11    direction and obviously when the Committee gets more

12    information and more detail, we’ll digest it and determine

13    which way to go.     At the same time there are continuing

14    discussions among many of the major constituencies to still

15    try to arrive at a consensual plan.              Those discussions, I

16    think, are probably in a different direction than Mr.

17    Conlan’s alluding to, but we are in a posture where

18    exclusivity has terminated, and all the parties in interest

19    have options.      Other parties could file plans, they could

20    file motions.      We still, the Committee, are of the view that

21    - and we’re going to keep trying to reach a consensus and get

22    a plan that has as much support as possible.                So, without

23    being specific today, Your Honor, it sounds like we’re going

24    down dual paths.     The Committee will participate in both

25    paths, see what makes the most sense, but I think we’re still
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 1    going to be on that bungee jumping exercise for a period of

 2    time till we settle down to the ground.

 3               THE COURT: Thank you.

 4               MR. GOLDEN: Good morning, Your Honor.             Daniel

 5    Golden, Akin, Gump, Strauss, Howard & Feld, counsel for

 6    Centerbridge.      Your Honor, I too learned of the debtor’s

 7    current plan or strategic thinking about how best to go

 8    forward on the plan process, I learned of that this morning.

 9    Just a minute’s worth of history, and I certainly won’t

10    comment, because it’s not appropriate, you know, who was the

11    reasonable people, who weren’t the reasonable people -

12               THE COURT: And bless you for that, sir.

13               MR. GOLDEN: Thank you.         But, Your Honor, you know

14    because it was made a public filing that an underpinning of

15    the debtor’s current plan, the plan that’s on file that looks

16    like it’s going to be amended, was a settlement agreement

17    between certain significant creditor parties: Law Debenture,

18    Centerbridge, JPMorgan, and Angelo Gordon, and that

19    underpinning took the form of a plan support, settlement

20    support agreement, which was filed with the Court.               Earlier,

21    JPMorgan and Angelo Gordon withdrew from that settlement

22    agreement, and there were provisions in that settlement

23    agreement that allowed for a withdrawal.             In light of the

24    fact that the counterparties to this plan support agreement

25    have withdrawn from the agreement, we’ve advised them and
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 1    believe that the agreement is null and void.              So now there is

 2    no current underpinning for the debtor’s plan, and I think in

 3    large part that’s what motivates the debtors to take matters

 4    into their own hands and to file a plan that they think

 5    appropriate, and while I agree with Mr. Seife that as late as

 6    10:10 this morning, for which we apologies and made the Court

 7    late, there were still discussions, but there have been

 8    discussions for a very long time and unfortunately they have

 9    not been successful as of yet, and it’s not clear whether the

10    parties left to their own devices will ever be successful.

11    So, frankly, the decision of the debtors to take the matters

12    into their own hand and come up with a plan that they believe

13    represents a reasonable compromise, we support that because

14    for lack of that effort we may be sitting here treading

15    water, treading water, treading water till all of us get

16    tired and drown, and not the least, the Court.              Everyone’s

17    frustrated.   Everyone would like to get to a deal, but it’s

18    proved to be more difficult than I think anyone imagined from

19    the beginning.

20               THE COURT: Does anybody think Mr. Klee’s help would

21    be useful here, since he made the offer today?

22               MR. GOLDEN: I’m not sure, Your Honor.             I’ve been

23    involved in, actually very recently, in cases similar to

24    this, cases with similar dynamics to this in mediations and

25    it’s never for lack of effort or sophistication on the part
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 1    of the mediator, but mediations in my opinion are only

 2    successful when there is a real desire to get a case

 3    resolved, and if there was a real desire, the parties

 4    involved in this case are certainly sophisticated enough.

 5    They’ve done it in the past.        They know how to make an

 6    agreement.    They know how to reach an agreement.               So, I’m not

 7    sure that a mediation at this stage would necessarily advance

 8    the ball, but that’s just my opinion borne from experience

 9    that I’ve had.     Other people may have other more successful

10    experience with a plan mediator.          I think everybody now is

11    going to take a breath, see what the debtor’s plan is.                In a

12    vacuum, obviously, nobody can support it or say they support

13    it, but I did want to say that we were supportive of the

14    process.   I think it goes without saying, we’ll reserve our

15    rights till we actually see the plan, but for lack of a more

16    concrete methodology to get to the end, we are supportive of

17    the debtor’s efforts.

18                 THE COURT: Thank you.      Does anyone else wish to be

19    heard?

20                 MR. FRIEDMAN: Your Honor, may it please the Court.

21    Edward Friedman, Friedman, Kaplan, Seiler & Adelman,

22    attorneys for Aurelius Capital Management and funds managed

23    by Aurelius.    I’d like to say very briefly a word about the

24    record date for voting and I address this in the hope of

25    avoiding a dispute in the future because it seems very clear
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 1    to me, based on what we’ve heard today, that when we have a

 2    new plan and new disclosure and I recognize that the debtor

 3    will be proposing various dates, part of those dates should

 4    be an appropriate record date for voting that will be in

 5    reasonable proximity to the voting deadline.              We’ve carried

 6    with us for a long time the May date as the record date and

 7    we’re now, obviously, far from May and we should have an

 8    appropriate date consistent with the most basic principles of

 9    plan democracy.

10               THE COURT: Well, without deciding the matter ahead

11    of time, I will simply comment that with every time you take

12    the podium to make that argument it gains more purchase.

13               MR. FRIEDMAN: I appreciate that, Your Honor.

14               THE COURT: Thank you.

15               MR. FRIEDMAN: And the one other comment I would

16    make in response to Your Honor’s question about whether the

17    parties believe that Mr. Klee could be of help, on behalf of

18    my client, what I would say is that obviously there have been

19    negotiations in the past.       We think that the examiner report

20    is tremendously illuminating and significant in terms of the

21    realities, risks, and probabilities associated with various

22    claims and possible litigation, and it seems to us that in

23    the aftermath of that report, what needs to happen in the

24    first instance is that the interested parties which would

25    certainly include our client need to be in a room and need to
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 1    be discussing the merits of the claims, the Examiner’s

 2    findings, and recognize the reality of what the Examiner has

 3    said, recognize that all of us lawyers in this room can

 4    undoubtedly point to things in the Examiner’s report as to

 5    which we would say, Well, the Examiner said this or that, and

 6    it’s actually better for my client than the Examiner said,

 7    but whatever we lawyers might say, the Examiner’s report

 8    represents a thorough and neutral examination of the issues.

 9    My client and us as counsel have been taking it very

10    seriously, reviewing it very carefully, and we think it is a

11    very important basis for negotiating in a realistic manner,

12    and we’re prepared to do that with other interested parties.

13               THE COURT: Thank you.

14               MR. FRIEDMAN: Thank you, Your Honor.

15               MR. BERNSTEIN: Your Honor, Don Bernstein from Davis

16    Polk representing JPMorgan.        I’ve extolled the virtues of

17    deadlines in the past and in front of the Court, and I think

18    Mr. Conlan has now set yet another deadline for all of us.            I

19    would like to be the eternal optimist and say that the dual

20    tracks perhaps can merge during this one-week period.            It may

21    not happen.   We may end up the week with five different

22    tracks, but, Your Honor, I think we should all be making the

23    effort to try to see whether we can have the same four days

24    that we could have 18 months from now of negotiation but do

25    it now.    And that’s a hope.
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 1               THE COURT: I appreciate the sentiment.                Thank you.

 2               MR. ADLER: Good morning, Your Honor.             David Adler

 3    from McCarter & English.        I represent Deutsche Bank Trust

 4    Company of America, who’s the indenture trustee under the

 5    ‘92, ‘95 and 1997 indentures which collectively represent

 6    about a billion dollars worth of the public debt.                I rise,

 7    Your Honor, because I am concerned about this process where

 8    we keep extending dates.        Every time we extend a voting

 9    deadline, we, as indenture trustee, notify the holders of the

10    extension of the date.      Although we have some concentration

11    in the bonds with Centerbridge and Aurelius, there are a lot

12    of individual holders of these bonds.            We have been flooded

13    with calls from people who have a $5,000 bond in their IRA or

14    in some other investment vehicle, and frankly, they are

15    getting extremely confused because they are hearing a voting

16    deadline of August 6th to be received by, then there was

17    another voting deadline where it just had to be postmarked by

18    a certain date, and as this process continues, the smaller

19    holders are getting extremely confused by all these different

20    voting deadlines in addition to which many of them have voted

21    already and if we’re going to continue this process, we need

22    to think of a way how these holders who may have cast their

23    ballot before the Examiner issued his report, how they can

24    change their votes and what the process should be.

25               THE COURT: Well, I would hope and trust that the
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 1    debtor’s papers will address that issue, and I’m sure if they

 2    don’t, I’ll hear from you again.

 3               MR. ADLER: Okay, Your Honor.           Just, I mean, I

 4    really do believe at this point that whatever comes out is

 5    going to require a full re-solicitation with a new voting

 6    deadline and a new disclosure statement given where the

 7    parties are in this discussion.

 8               THE COURT: Well, I take it from Mr. Conlan’s

 9    suggested confirmation date based upon the availability I had

10    indicated, he doesn’t anticipate an additional disclosure

11    step.   Now, I could be wrong about that, but the time frame

12    doesn’t seem as if it would permit it that, but I haven’t

13    seen the proposal yet so I’ll say nothing further, and I’ll

14    make no indication now about whether I think that will be

15    good or bad.

16               MR. ADLER: Your Honor, let me just note that the

17    discussions, as I understand it, envision a litigation trust

18    and there are many taxable consequences to the creation of a

19    litigation trust, and I am not certain that you can bypass

20    the step of having a new disclosure statement if you have

21    those taxable events that holders may have to realize in the

22    event that a litigation trust is to be created.

23               THE COURT: I understand.

24               MR. ADLER:     Thank you, Your Honor.

25               THE COURT: Thank you.        Does anyone else wish to be
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 1    heard?

 2                 MR. LAURIA: Good morning, Your Honor.             Tom Lauria

 3    with White & Case.     We represent Wells Fargo, the bridge

 4    agent.   I guess as a preliminary matter, I want to say I’m a

 5    little confused by some of the comments this morning and in

 6    particular Mr. Seife’s.         I thought it was bad if you hit the

 7    ground when you’re bungee jumping, but we’ll see.                  We, of

 8    course, endorse the approach.          We reserve our rights.         As the

 9    Court is well aware, the bridge lenders were very unhappy

10    with the prior plan, and we’re not a party to it.                  I think

11    this creates an opportunity to try to find peace and we’re

12    hopeful that happens.      In response to a couple of the

13    comments that people made and the Court’s question, you know,

14    the timeline the debtors laid out, I guess is from today,

15    slightly less than three months, and to me that seems, given

16    the complexity of this case and the possibility that there

17    may have to be some supplemental disclosure, that seems like

18    as aggressive a timeline as we can hope for, but also keeps

19    this case on a relatively short leash, which I think it needs

20    to stay on, and so, we support the time frame proposed.                  With

21    respect to the utility of a mediator and whether or not if

22    there should be a mediator that should be Mr. Klee, I guess I

23    have two kind of reactions.         Number one, it may well be that

24    a mediator at some point will help.               I think it’s maybe

25    premature.    Let’s see where the debtor comes out and see how
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 1    the parties position themselves around the table and see at

 2    that point if a mediator’s appropriate.            As far as Mr. Klee’s

 3    participation, while there can be no doubt that he’s very

 4    knowledgeable at this point about the facts and the issues

 5    here, in that his report takes positions on a variety of

 6    issues, I think it would be hard for him to re-emerge as a

 7    quote/unquote “neutral” to be a mediator.

 8               THE COURT: Alright, thank you.            Does anyone else

 9    wish to be heard?     I hear no further response.           Alright.      Mr.

10    Conlan, when would you expect a motion filed on August 27th

11    would be set for a hearing?

12               MR. CONLAN: The date we have scratched in, Your

13    Honor, is a time around September 6th.           That may be too early,

14    but in order to make a November 8th confirmation date, we

15    think that would need to be on or before September 14th in any

16    event.

17               THE COURT: Well, you have a September 15th omnibus

18    date hearing.      You know, I think that’s still your best bet.

19               MR. LANTRY: Your Honor, Kevin Lantry.             As we

20    understood it, we had about an hour for that omnibus.                Is

21    that different in terms of your calendar?

22               THE COURT: Actually, if we go through the lunch

23    hour you have two.

24               MR. LANTRY: We would be afraid that that might not

25    be enough even though the supplemental disclosure is not
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 1    going to be like a disclosure statement, that plus the

 2    procedures by which we would have the solicitation and the

 3    way it often has occurred in this case, we’re concerned that

 4    that might not be enough time.

 5                THE COURT: Well, how much time do you think you

 6    need?

 7                MR. LANTRY: I would guess 4 hours.            The issue we

 8    struggle with, Your Honor, just again backing out the dates,

 9    goes to the process of the solicitation.             We recognize that

10    there are a lot of holders with the various tranches of

11    notes, and that is the real push in terms of being able to

12    turn things around and get us to the November 8th date you’ve

13    given us.

14                THE COURT: Bear with me.        Well, I would have time

15    on the 9th or 10th, but that for me presents two issues.            One,

16    it’s the holidays, and secondly, I’m somewhat weary of people

17    telling me they don’t have enough time to look at things.

18                MR. SEIFE: Your Honor, the 9th and 10th would be a

19    problem for a number of the parties involved.

20                MR. CONLAN: Your Honor, we can make November 15th

21    work.   It’s not a matter of counter meaning, make it work for

22    the dates that we have in mind if you could find 4 hours for

23    us by adding something in early or late or however you would

24    - September 15th in order to make the November 8th date work.

25                THE COURT: Alright.       Let’s do September 15th at 11,
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 1    and I will try to clear - I say that, but Ms. Hunt really has

 2    to do it, 4 hours for you.

 3               MR. CONLAN: Thank you, Your Honor.

 4               THE COURT: Okay.

 5               MR. CONLAN: Your Honor, one point in addition.             We

 6    will continue to work hard with everybody as we have.            We

 7    just think it’s critical to change the dynamic that has

 8    emerged including the bungee dynamic.

 9               THE COURT: Okay.       Let me - Mr. Minuti I think has

10    left the courtroom but let me ask you to pass along to him

11    the following with respect to a date for fee hearings, Mr.

12    Pernick.   From our calendar standpoint, the October omnibus

13    or the November omnibus are both okay, but I’d ask that you

14    check with the Fee Examiner to see what his schedule is.

15               MR. BENDERNAGEL: When we were outside Professor

16    Klee had indicated that the October omnibus would be

17    acceptable to him, if that’s any help to you.

18               THE COURT: Yeah, I mean, it’s okay with me so long

19    as the Fee Examiner can complete his work and we’ll have a

20    quarterly fee hearing then.        Okay.    While we’re on the

21    calendering, let me ask this, what of now, the October dates

22    which we’ve set aside for confirmation, they are the 4th, the

23    12th, the 13th, and the 14th?

24               MR. CONLAN: I think we can let those go.

25               THE COURT: Okay.       I hear no objection to that.        Is
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 1    there anything further for today?

 2               MR. CONLAN: No, Your Honor.            Thank you again - I’m

 3    sorry, not from me.

 4               MR. SEIFE: Your Honor, just perhaps not something

 5    we need to deal with today, but because we are looking at the

 6    calendar and given that the earliest we will have a

 7    confirmation hearing will be the beginning of November, we

 8    are going to be faced with the two-year anniversary of this

 9    case in early December and there’s never any assurance as to

10    what will happen at confirmation hearings and whether in fact

11    we will be going forward as planned.             The two-year

12    anniversary is quite significant in this case as causes of

13    action need to be brought before that date.             No one wants to

14    run into statute of limitation deadlines.             So, I do want to

15    raise it with Your Honor and I think we do need to find a way

16    to deal with it and perhaps not wait till the last minute,

17    which would not be in anyone’s interest.             So, I just rise to

18    indicate that will be an issue we’re going to have to deal

19    with.

20               THE COURT: Well, there was previously at least one

21    standing motion.

22               MR. SEIFE: The Committee has a standing motion

23    which has been adjourned.       It would have a second one dealing

24    with additional causes of action, and we may need to discuss

25    with the debtors bringing those motions on and dealing with
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 1    them before we are backed into a corner on those dates.

 2               THE COURT: Well, thanks for the warning.

 3               MR. SEIFE: Thank you, Your Honor.

 4               THE COURT: Anything further for today?                Thank you

 5    all very much.     That concludes this hearing.           Court will

 6    stand in recess.

 7               (Whereupon at 12:01 p.m., the hearing in this

 8    matter was concluded for this date.)

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18               I, Elaine M. Ryan, approved transcriber for the

19    United States Courts, certify that the foregoing is a correct

20    transcript from the electronic sound recording of the

21    proceedings in the above-entitled matter.

22

23    /s/ Elaine M. Ryan                                August 21, 2010
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